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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT CINCINNATI

 TRAVIS CHENAULT, Individually and                :    CASE NO:
 on behalf of all others similarly situated       :
 c/o Minnillo & Jenkins Co., LPA                  :    JUDGE:
 2712 Observatory Avenue                          :
 Cincinnati, Ohio 45208                           :
                                                  :
                Plaintiffs,                       :
                                                  :
        vs.                                       :
                                                  :
 BEIERSDORF, INC.                                 :    CLASS ACTION COMPLAINT
 5232 E. Provident Drive                          :
 West Chester Township, OH 45246                  :    (WITH JURY DEMAND)
                                                  :
                Defendant.                        :


       Plaintiff Travis Chenault, individually and on behalf of all others similarly situated, for his

Complaint against defendant Beiersdorf, Inc. (“Beiersdorf”), states as follows:

                               I. PRELIMINARY STATEMENT

       1.      Plaintiff was a non-exempt warehouse employee of Beiersdorf. Plaintiff worked in

excess of forty hours per workweek without being paid Overtime Pay (i.e., time and one-half his

regular rate) as required by law.

       2.      Rather than comply with applicable law and pay plaintiff Overtime Pay, defendant

provided plaintiff and other warehouse workers with gift cards having no cash value or cash access.

Thus, plaintiff and other employees were not paid wages for their overtime work as the term is

defined in 29 C.F.R. § 531.27 and R.C. 4111.01(A).

       3.      Defendant’s conduct violated the Fair Labor Standards Act (“FLSA”), 29 U.S.C.

§ 201 et seq., Title 29 of the Code of Federal Regulations, and R.C. 4111.01, 4111.03 and 4113.15.

Redress sought by plaintiff includes unpaid overtime pay for the three (3) years preceding the
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filing of this action, liquidated damages in an equal amount, declaratory and injunctive relief, and

reasonable attorney’s fees and costs.

                               II. JURISDICTION AND VENUE

       4.       Jurisdiction of the Court is invoked pursuant to 28 U.S.C. § 1331 and 29 U.S.C.

§ 215. Federal jurisdiction is invoked in this instance to secure protection of and to redress

deprivations of rights under the statutes of the United States, specifically including the FLSA, 29

U.S.C. § 201, et seq.

       5.       The Court has supplemental jurisdiction over plaintiff’s state law claims under 28

U.S.C § 1367.

       6.       Venue is appropriate because the actions complained of by the plaintiff occurred

within the Western Division of the Southern District of Ohio.

                                          III. PARTIES

       7.       Plaintiff Travis Chenault is a citizen of the United States who resides in Hamilton

County, Ohio. Plaintiff Chenault was a full-time employee of defendant from May 2019 to

September 6, 2019. Plaintiff Chenault has signed a consent to participate in this action in

accordance with 29 U.S.C. § 216(b) which is attached as Exhibit A.

       8.       Defendant Beiersdorf is a Delaware for-profit corporation organized under the law

of the State of Delaware. Beiersdorf regularly conducts business within the State of Ohio and

maintains an ongoing business operation in Butler County, Ohio. Beiersdorf is an employer under

29 U.S.C. § 203(d).

       9.       The wage and hour violations alleged herein took place within West Chester

Township, Butler County, Ohio, which is within this judicial district.




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                                 IV. STATEMENT OF FACTS

       10.     Beiersdorf is an international skincare company which produces brands such as

NIVEA, Eucerin and Aquaphor.

       11.     Beiersdorf maintains a warehouse/shipping and receiving center located in West

Chester Township, Ohio.

       12.     Plaintiff was employed as an hourly forklift driver/warehouse worker in

Beiersdorf’s West Chester Township, Ohio facility.

       13.     At all times during his employment with defendant, plaintiff was non-exempt such

that he was entitled to Overtime Pay for all hours worked in excess of forty (40) hours per

workweek.

       14.     On or about August 6, 2019, plaintiff’s supervisor informed plaintiff and others

similarly situated that Beiersdorf had overtime opportunities for August 6, 7 and 8, 2019.

       15.     On or about August 6, 2019, plaintiff worked approximately four (4) hours beyond

his normally scheduled shift.

       16.     On or about August 7, 2019, plaintiff worked approximately five (5) hours beyond

the end of his normally scheduled shift.

       17.     On or about August 8, 2019, plaintiff worked approximately four (4) hours beyond

the end of his normally scheduled shift.

       18.     During the workweek ending August 10, 2019, plaintiff worked a total of forty-four

and eight-tenths (44.8) hours.

       19.     After working overtime during the above time period, Beiersdorf provided plaintiff

with three gift cards totaling $700; one $500 card and two $100 cards.




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         20.      True and correct copies of the gift cards Beiersdorf gave to plaintiff are attached

hereto as Exhibit B1.

         21.      Pursuant to the terms and conditions attached to the cards, there is “No cash access”

available to the user of the card. (Ex. B).

         22.      The gift cards Beiersdorf gave to plaintiff were not cash or negotiable instruments

payable at par.

         23.      The cards Beiersdorf gave to plaintiff were not legal tender of the United States or

checks on banks convertible into cash on demand at full face value.

         24.      On the statement accompanying plaintiff’s August 16, 2019 paycheck, Beiersdorf

added $250.00 to plaintiff’s earnings noted as “Gift Card,” deducted taxes, and then deducted $250

as a “gift.” The extra $250 indicated on the statement was not, in fact, paid on the accompanying

paycheck. A true and correct copy of plaintiff’s August 16, 2019 paystub is attached as Exhibit

C.

         25.      On the statement accompanying plaintiff’s August 23, 2019 paycheck, Beiersdorf

added $250.00 to plaintiff’s earnings noted as “Gift Card,” deducted taxes, and then deducted $250

as a “Gift.” The extra $250 indicated on the statement was not, in fact, paid on the accompanying

paycheck. A true and correct copy of plaintiff’s August 23, 2019 paycheck is attached as Exhibit

D.

         26.      On the statement accompanying plaintiff’s August 30 paycheck, Beiersdorf added

$200.00 to plaintiff’s earnings noted as “Gift Card,” deducted taxes, and then deducted $200 as a

“Gift.” The extra $200 indicated on the statement was not, in fact, paid on the accompanying




1 For security purposes, all but the final four numbers of the cards have been redacted.


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paycheck. A true and correct copy of plaintiff’s August 30, 2019 paycheck is attached as Exhibit

E.

       27.     The net effect of Beiersdorf’s conduct described above was that plaintiff’s wages

were reduced and subject to deductions for the face value of the gift cards provided by Beiersdorf

even though said gift cards were not legal tender and could not be converted to cash on demand.

       28.     Beiersdorf subjected approximately twenty-five (25) employees at its West Chester

location to the unlawful practices described above. Upon information and belief, Beiersdorf may

have subjected other employees to the same unlawful treatment at other locations within the United

States during the three years preceding the filing of this action.

       29.     Plaintiff was not paid Overtime Pay (i.e., time and one-half of his regular rate) for

the hours he worked in excess of forty (40) hours per workweek during the August 4, 2019 to

August 10, 2019 workweek.

       30.     The lump sum compensation for overtime work without regard to overtime hours

worked was not included in plaintiff’s regular rate for purposes of overtime, as required by 29

C.F.R. § 778.310.

       31.     Plaintiff was not paid in “cash or its equivalent” as required by 29 C.F.R. § 531.27

for all hours worked in the workweek including August 6 through August 8, 2019.

       32.     Plaintiff was not paid “wages” as the term is defined by R.C. 4111.01(A) for all

hours worked in the workweek including August 6 through August 8, 2019.

       33.     Defendant’s Wage and Hour Policies and Practices caused plaintiff and similarly

situated employees to be denied overtime pay for hours worked in excess of forty (40) hours in

violation of 29 U.S.C. § 207(a)(1).




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                             V. COLLECTIVE ACTION ALLEGATIONS

         34.      Plaintiff brings his FLSA claims under 29 U.S.C. § 216(b) as a collective action on

behalf of the following opt-in Class (the “FLSA Class”):

                       All non-exempt employees of defendant who worked more than
                       40 hours in a workweek and did not receive Overtime Pay as
                       required by the FLSA for all such hours worked during the
                       period beginning three years prior to the date of filing of this
                       action through the present.2

         35.      Plaintiff is similarly situated to all current and former hourly employees described

in the FLSA Class.

                                  VI. CLASS ACTION ALLEGATIONS

         36.      Plaintiff brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of himself and as a representative of a class of similarly situated individuals

asserting statutory and common law claims arising from defendant’s unlawful conduct, including

but not limited to, defendant’s violation of Article II, Section 34a of the Ohio Constitution and the

Ohio Minimum Fair Wage Standards Act, O.R.C. § 4111.01 et seq.

         37.      This class action is proper under Federal Rule of Civil Procedure 23(b)(1), 23(b)(2),

and 23(b)(3). Plaintiff brings these claims on behalf of the following Class (the “Ohio Class”):

                  All non-exempt employees of Defendant who worked more than 40
                  hours in a workweek and did not receive Overtime Pay as required
                  by applicable state law for all such hours worked during the period
                  beginning three years prior to the date of filing of this action through
                  the present.3

         38.      Although the precise number of the Class members is unknown to plaintiff, upon

information and belief the number is at least twenty-five (25), such that joinder is impractical. The



2 Plaintiff reserves the right to amend this definition and add subclasses at any time up and including the filing of a
motion for conditional certification and/or class certification.
3 Plaintiff reserves the right to amend this definition and add subclasses at any time up and including the filing of a
motion for conditional certification and/or class certification.


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disposition of each Class member’s claims through the class action procedure will benefit the

parties, the Court, and society as a whole.

       39.     Plaintiff will fairly and adequately represent and protect the Class members’

interests and is committed to the vigorous prosecution of this action.

       40.      Plaintiff has no conflicts of interest and has retained counsel who are competent

and have experience with class actions, including employment class actions.

       41.     Plaintiff’s claims are typical of those of the Class. Plaintiff, like other Class

members, worked overtime at employer’s facility in West Chester Township, Ohio during the

workweek that included August 6 through August 8, 2019. Plaintiff, like other Class members,

was not compensated with legal tender for his hours worked but rather with pre-paid gift cards

which did not allow for cash access to the amounts on those cards.

       42.     Plaintiff, like other Class members, was also subjected to unauthorized and

unlawful deductions from his wages.

       43.     Common questions of law and fact exist as to all Class members and predominate

over questions affecting individual Class members.

       44.     Common questions of law and fact include, but are not limited to, the following:

               a. whether defendant failed to properly compensate plaintiff and other class

                   members for all hours worked in excess of forty (40) hours per workweek;

               b. whether defendant’s provision of pre-paid gift cards that were not convertible

                   to cash to plaintiff and other class members constituted lawful payment of

                   wages under applicable law;




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               c. whether defendant was unjustly enriched by wrongfully retaining Class

                   members’ wages and benefits and should therefore disgorge all wages and

                   benefits retained and rightfully owed to Class members; and,

               d. whether defendant should be enjoined from continuing to violate wage and hour

                   laws by attempting to compensate non-exempt employees for overtime hours

                   with pre-paid gift cards, not redeemable for cash.

        45.    Prosecuting separate actions would create a risk of inconsistent or varying

adjudications with respect to individual Class members that would establish incompatible

standards of conduct for defendant, and adjudications with respect to individual Class members

would, as a practical matter, be dispositive of the interests of the other members not parties to the

individual adjudications, and would substantially impair or impede their ability to protect their

interests.

        46.    A class action is appropriate because the common questions of law and fact

enumerated above predominate over questions affecting only individual Class members.

        47.    A class action is superior to other available methods for the fair and efficient

adjudication of the claims asserted in this action, as the financial interest of each individual Class

member is relatively small, making it economically impracticable to pursue remedies other than

by a class action. As such, the Class members have little interest in individually controlling the

prosecution of separate actions.

        48.    If individual actions were to be brought by the members of the Class, the resulting

duplication of lawsuits would cause undue hardship, inefficiencies, and expense to the Court and

the litigants, and the nature of the claims is such that it is unlikely that many such claims would be

pursued other than on a class basis.




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       49.       Given the above considerations, it is desirable to concentrate the litigation of the

claims in this particular forum.

       50.       Absent a class action, Defendants would likely retain the benefits of their

wrongdoing, resulting in a miscarriage of justice.

       51.       There will be no difficulties in managing this class action as the names and

addresses of the persons who are Class members are available from defendant. Further, notice can

be provided to the Class members by using techniques and a form of notice similar to those

customarily used in class actions including individual mailed notice and notice by publication, as

appropriate.

                              VII. STATEMENT OF THE CLAIMS

                                       Count One
     Denial of Overtime Pay under the Fair Labor Standards Act, 29 U.S.C. § 207(a)(1)

       52.       Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

       53.       Defendant’s lump sum payment for overtime work without regard to actual

overtime hours worked constituted a denial of Overtime Pay at a rate not less than one and one-

half times plaintiff’s regular rate for all hours worked in excess of forty (40) hours per workweek.

       54.       Defendant failed to pay plaintiff and similarly situated employees Overtime Pay for

all hours worked in excess of forty (40) hours per workweek as required by the Fair Labor

Standards Act.

       55.       Defendant’s denial of Overtime Pay violated the FLSA, including but not limited

to the overtime provisions of 29 U.S.C. § 207(a)(1).

       56.       Plaintiff is entitled to recover from defendant overtime pay at a rate not less than

one and one-half times his regular rate for all hours worked in excess of forty (40) hours per



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workweek during the period beginning two (2) years prior to the commencement of this action,

together with liquidated damages in an amount equal thereto, and attorney’s fees pursuant to 29

U.S.C. § 216(b).

                                       Count Two
                      Failure to compensate with wages, 29 USC § 207

       57.     Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

       58.     29 C.F.R. § 531.27(a) requires that payments of wages under the FLSA, including

overtime compensation, be made in cash or negotiable instrument payable at par.

       59.     Defendant compensated plaintiff for the overtime work performed during the

workweek including August 6 through August 8, 2019, with pre-paid gift cards having no cash

value or any cash access.

      60.      Defendant’s compensation to plaintiff was not wages, thereby depriving plaintiff

of income.

                                         Count Three
                        Willful violation of FLSA, 29 U.S.C. § 255(a)

       61.     Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

       62.     Defendant’s conduct constitutes a willful violation of the FLSA within the meaning

of 29 U.S.C. § 255(a) such that plaintiff is entitled to recover from defendant an appropriate

amount during the period beginning three (3) years prior to the commencement of this action

together with liquidated damages in an amount equal thereto and attorney’s fees pursuant to 29

U.S.C. § 216(b).




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                                     Count Four
       Violations of Ohio’s Minimum Fair Wage Standards Act, R.C. 4111.01 et seq.

       63.     Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

       64.     Under the Ohio Minimum Fair Wage Standards Act (“OMFWSA”), R.C. 4111.01

et seq., defendant was and is required to pay each of its non-exempt Ohio employees at a wage

rate of one and one-half times the employee’s wage rate for hours worked in excess of forty (40)

hours in one workweek. R.C. 4111.03(A) and 4111.10(A).

       65.     Defendant’s conduct as described above violates the OMFWSA provisions

governing payment of overtime.

       66.     Defendant has willfully and with reckless disregard deprived plaintiff of overtime

compensation under the OMFWSA, which entitles plaintiff to liquidated and/or punitive damages

and other appropriate relief.

                                         Count Five
                    Failure to Pay Semi-monthly Wages Due, R.C. 4113.15

       67.     Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

       68.     During the two year period preceding the filing of this Complaint, defendant

breached the requirement of R.C. 4113.15 by failing to pay plaintiff and members of the Ohio

Class all wages owed to them within thirty days of their regularly scheduled semi-monthly payday

for each pay period in which plaintiff and those similarly situated worked.

       69.     Defendant is liable for the unpaid wages and for additional amounts as liquidated

damages and interest as provided by R.C. 4113.15.




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                                        Count Six
                Failure to Compensate Employees with Wages, R.C. 4111.01(A)

       70.      Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

       71.      Under R.C. 4111.01(A), “wages” are defined as “compensation due to an employee

by reason of employment, payable in legal tender of the United States or checks on banks

convertible into cash on demand at full face value.”

       72.      Defendant failed to pay Plaintiff wages for all hours worked on August 6 through

August 8, 2019.

       73.      Plaintiff has been proximately harmed by defendant’s failure to pay him wages.

                                  VIII. PRAYER FOR RELIEF

       WHEREFORE, plaintiff demands judgment against the defendant as follows:

       1.       An Order permitting this litigation to proceed as a collective action pursuant to 29

U.S.C. § 216(b);

       2.       Prompt notice, pursuant to 29 U.S.C. § 216(b), to all similarly situated employees

of defendant that this litigation is pending and they have the right to “opt-in” to this litigation;

       3.       Judgment against defendant for violating the Fair Labor Standards Act;

       4.       An Order declaring that the defendant’s violations of the Fair Labor Standards Act

were willful;

       5.       An injunction prohibiting defendant from engaging in future overtime violations;

       6.       An award of overtime pay and liquidated damages thereon;

       7.       With respect to the Ohio Class:

                a. An order certifying the Class pursuant to Rule 23 of the Federal Rules of Civil

                   Procedure;



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           b. An order appointing plaintiff as class representative and plaintiff’s counsel as

               class counsel;

           c. An award of damages and liquidated damages;

           d. Pre-judgment and post-judgment interest, as provided by law;

           e. Such other injunctive relief as the Court may deem just and proper; and

           f. Reasonable attorney’s fees and costs.

   8.      An award of plaintiff’s reasonable attorney’s fees and costs; and

   9.      All such other relief as the Court deems appropriate under the premises.

                                           Respectfully submitted,

                                           MINNILLO & JENKINS Co., LPA

                                           /s/ Christian A. Jenkins
                                           Christian A. Jenkins (OH-0070674)
                                           Robb S. Stokar (OH-0091330)
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                                           Counsel for Plaintiff


                                     JURY DEMAND

   Plaintiffs demand a trial by jury as to all issues so triable in this matter.

                                           /s/ Christian A. Jenkins
                                           Christian A. Jenkins (OH-0070674)




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